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                                       UNITED STATES DISTRICT COURT FOR THE
                                           SOUTHERN DISTRICT OF FLORIDA
                                                   Miami Division

                                           Case Number: 03-21296-CIV-MORENO

  RICK LOVE, M.D., et al.,

           Plaintiffs,

  vs.

  BLUE CROSS AND BLUE SHIELD ASSOCIATION, et al.,

         Defendants.
  _____________________________________/

   ORDER GRANTING SETTLING DEFENDANTS’ MOTION FOR ORDER ENJOINING THE CENTER
  FOR RESTORATIVE BREAST SURGERY, LLP, SCOTT K. SULLIVAN, JR., & FRANK DELLACROCE
                  FROM PROSECUTING THEIR STATE COURT ACTIONS

           THIS CAUSE came before the Court upon Settling Defendants’ Motion for an Order Enjoining the Center for

  Restorative Breast Surgery, LLP, Scott K. Sullivan, Jr., & Frank Dellacroce from Prosecuting Their State Court Actions

  (D.E. No. 1213), filed on January 25, 2008.

           The Center for Restorative Breast Surgery (“CRBS”) has more than 70 lawsuits pending in Louisiana state court

  (the “Louisiana Lawsuits”). CRBS filed the first lawsuit in 2006. All of the lawsuits name Blue Cross Blue Shield

  (“BCBS”) entities as defendants. Many of these BCBS entities are party to the pending settlement in this lawsuit which

  this Court preliminarily approved on May 31, 2007 (D.E. No. 945). CRBS seeks in the Louisiana Lawsuits (1)

  reimbursement for fee for service physician charges that CRBS claims were improperly diminished or denied by the

  BCBS entities and (2) statutory penalties under Louisiana’s prompt pay statute.

           This Court’s Preliminary Approval Order (D.E. No. 945) of the pending Love settlement enjoins all those

  claims that the proposed Settlement Agreement (D.E. No. 928 at Exhibits 2-6) releases. Section 13.1 of the Settlement

  Agreement defines those claims released by the Settlement Agreement. The first sentence of Sentence 13.1 provides

  in pertinent part:

                       Upon the Effective Date, the “Released Parties,” . . . shall be released and forever
                       discharged by . . . all Class Members . . . (collectively, the “Releasing Parties”) from
                       any and all causes of action, judgments, liens, indebtedness, costs, damages,
                       obligations, attorneys’ fees, losses, claims, liabilities and demands . . . arising on or
                       before the Effective Date, that are, were or could have been asserted against any of
                       the Released Parties by reason of, arising out of, or in any way related to any of the
                       facts, acts, events, transactions, occurrences, courses of conduct, business practices,
                       representations, omissions, circumstances or other matters referenced in the Action,
                       or addressed in this Agreement, whether any such Claim was or could have been
                       asserted by any Releasing Party on its own behalf or behalf of other Persons, or to
                       the business practices that are the subject of § 7.
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  The second sentence of Section 13.1 begins: “This includes, without limitation and as to Released Parties only, any

  aspect of any fee for service claim submitted by any Class Member to a Blue Plan[.]”

           The use of the word “includes” in the second sentence of Paragraph 13.1 indicates that the second sentence

  expands, rather than limits, the scope of the release. The second sentence prevents any Class Member from suing a

  Released Party over “any aspect of a fee for service claim.” CRBS is a Class Member. The Louisiana Lawsuits involve

  fee for service claims made by CRBS against BCBS entities, which are Released Parties. The Louisiana Lawsuits

  therefore violate sentence two of Section 13.1 in the Settlement Agreement (D.E. No. 928 at Exhibits 2-6) and this

  Court’s Preliminary Approval Order (D.E. No. 945).

           Notwithstanding sentence two of Section 13.1, this Court further holds that sentence one releases CRBS’ claims

  against the BCBS entities. The first sentence of Section 13.1 releases all those claims that “are in any way related” to

  “any of the facts, acts, events . . . [or] representations . . . referenced in the Action.” The Louisiana Lawsuits involve

  claims against the BCBS entities that the BCBS entities did not pay CRBS as much as it agreed to pay pursuant to the

  agreements made between CRBS and the WellPoint Defendants. The Managed Care Litigation involves claims that

  health insurance companies improperly denied and diminished insurance claims made by doctors in violation of the

  agreements made between the doctors and insurance companies. The claims made in the Managed Care Litigation and

  the Louisiana Lawsuits involve related factual allegations. That the Managed Care Litigation involves a RICO cause

  of action is of no moment. The Lousiana Lawsuits therefore violate sentence one of Section 13.1 in the Settlement

  Agreement (D.E. No. 928 at Exhibits 2-6) and this Court’s Preliminary Approval Order (D.E. No. 945).

           It is accordingly ADJUDGED that the Center for Restorative Breast Surgery, LLP, Scott K. Sullivan, Jr., and

  Frank Dellacroce are enjoined from prosecuting the Louisiana Lawsuits against any of those parties defined as “Released

  Parties” in the Settlement Agreement (D.E. No. 928 at Exhibits 2-6). The claims against the Released Parties shall be

  immediately dismissed. This injunction shall remain in effect after this Court enters an order of final approval of the

  Settlement Agreement.



           DONE AND ORDERED in Chambers at Miami, Florida, this 19th day of April, 2008.




                                                                   _______________________________________
                                                                   FEDERICO A. MORENO
                                                                   UNITED STATES DISTRICT JUDGE

  Copies provided to:
  Counsel of Record


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